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 4                        UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT TACOMA
 5
      ALMOG MEIR JAN, SHLOMI ZIV, and                   NO. 3:24-cv-05553-TLF
 6    ANDREY KOZLOV,
                             Plaintiffs,                RESPONSE TO DEFENDANTS’
 7    v.                                                MOTION TO DISMISS

 8    PEOPLE MEDIA PROJECT, a Washington                NOTED FOR HEARING:
      Non-Profit Corporation, d/b/a PALESTINE           April 11, 2025
 9    CHRONICLE; RAMZY BAROUD; JOHN
      HARVEY; and DOES 1 through 10,
10
                                       Defendants.
11
                                       I.      INTRODUCTION
12
            Plaintiffs have amended the Complaint to allege precisely what the Court indicated was
13
     necessary to remedy the narrow defects identified in its prior order. The Amended Complaint
14
     now clearly and explicitly alleges that Defendants made ongoing payments to Abdallah
15
     Aljamal “while knowing that Aljamal was a Hamas operative involved in Hamas’s October 7,
16
     2023 attacks and in the ongoing terrorist war crime of holding Israeli citizens thereafter,” Am.
17
     Compl. ¶ 9, that Defendants knew “that Aljamal was a Hamas operative and spokesperson
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     before, during, and in the months after the October 7, 2023 attacks,” id. ¶ 62, and that
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     “Defendants knew that Aljamal was a terrorist participating in kidnapping and hostage-taking,”
20
     id. ¶ 65. Plaintiffs also allege specific facts showing that Defendants remained in close contact
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     with Aljamal before and after October 7, 2023, id. ¶¶ 41-42, 59, 61, 67-68, and that Aljamal
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     remained openly and publicly involved with Hamas’s terrorism before, during, and after the
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 1   atrocities of that day, id. ¶¶ 35-36, 39, 41, 50, 58. These allegations raise a plausible inference

 2   that Defendants knowingly aided and abetted Aljamal’s egregious violations of international

 3   law from their homes and business in the Western District of Washington. Id. ¶¶ 14, 20.

 4           By sufficiently pleading knowledge, Plaintiffs have resolved, not only their mens rea

 5   problem, but also their extraterritoriality problem. The Court found the original complaint’s

 6   extraterritoriality allegations lacking only “because Jan does not allege that Defendants knew

 7   Aljamal was a Hamas operative or involved in acts of terrorism” and therefore Defendants

 8   “domestic decision to pay him does not have a sufficient nexus to the conduct relevant to the

 9   [ATS’s] focus.” Dkt. 40 at 23 (quotations omitted). The Amended Complaint’s extensive

10   allegations of actual knowledge resolve that issue as well.

11           Defendants, by contrast, completely ignore the Court’s prior decision. They do not

12   address at all whether Plaintiffs’ new allegations are sufficient to plausibly allege that they

13   were aware of Aljamal’s ongoing participation in Hamas’s hostage-taking and terrorism.

14   Rather, their motion to dismiss simply repeats arguments that this Court already rejected (i.e.,

15   Sosa Steps 1 and 2, exhaustion, and the political question doctrine), and raises new arguments

16   that Defendants declined to raise previously. This Court should recognize that the narrow

17   defects it identified in the original complaint have been cured, decline Defendants’ invitation

18   to reconsider its prior rulings, and allow this case to proceed.

19                                         II.     STANDARDS

20           “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

21   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

22   U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim

23   has facial plausibility when the plaintiff pleads factual content that allows the court to draw

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 1   the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556

 2   U.S. at 663. For a Rule 12(b)(1) facial motion to dismiss, this Court accepts the factual

 3   allegations in the complaint as true, and Plaintiffs as the nonmoving party are entitled to have

 4   those facts construed in the light most favorable to Plaintiffs. Inst. of Cetacean Rsch. v. Sea

 5   Shepherd Conservation Soc’y, 153 F. Supp. 3d 1291, 1298–99 (W.D. Wash. 2015). Similarly,

 6   when considering a motion to dismiss under Rule 12(b)(6), this Court construes the complaint

 7   in the light most favorable to Plaintiffs. Id. The Court must therefore accept all well-pleaded

 8   allegations of material fact as true and draw all reasonable inferences in favor of Plaintiffs. Id.

 9                                        III.    ARGUMENT

10      A. The Amended Complaint Cured the Two Narrow Deficiencies Identified by This
           Court as to the Compensation Allegations.
11
                1. The Court Has Already Determined That the Complaint Properly Pled All But
12                 Two Narrow Aspects of Plaintiffs’ Alien Tort Statute Claims.

13          This Court began its review of the initial Complaint by noting that the Supreme Court’s

14   Sosa decision creates a two-part test for determining whether a cause of action may be

15   recognized under the Alien Tort Statute (“ATS”): (1) “the alleged violation must be of an

16   international norm that is ‘specific, universal, and obligatory,’”; and (2) a court must evaluate

17   “whether allowing this case to proceed under the ATS is a proper exercise of judicial discretion,

18   or instead whether caution requires the political branches to grant specific authority before [a

19   new form of liability] can be imposed.” Dkt. 40 at 6 (alteration in original) (quoting Sosa v.

20   Alvarez-Machain, 542 U.S. 692, 732–33 (2004)).

21          Before proceeding to each Sosa step, this Court noted that “Defendants do not contest

22   that the underlying torts committed against Jan by Aljamal and Hamas—the kidnapping and

23   imprisonment of a civilian hostage—are international human rights violations that are

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 1   actionable under the ATS. See generally Dkt. 27; Dkt. 33; Dkt. 36.” Id. at 7. As discussed

 2   below, Defendants still have not done so.

 3          This Court then held that “Jan’s aiding and abetting claims satisfy Sosa’s first

 4   requirement” because “aiding and abetting liability is a norm of customary international law

 5   with sufficient definition and universality to establish liability under the ATS.” Id. at 7–8

 6   (quoting Doe I v. Cisco Sys. Inc., 73 F.4th 700, 717 (9th Cir. 2023)). At Sosa Step 2, this Court

 7   concluded that “potential foreign relations consequences and traditional deference to Congress

 8   should not preclude Jan from pursuing his claims of accomplice liability under the ATS.” Id.

 9   at 9. Rather than undermining the foreign relations goals of the United States, the Court

10   determined that “recognizing accomplice liability in cases such as this may better serve the

11   original purpose of the ATS by providing ‘a forum for violations of international law that, if

12   lacking, could cause foreign relations strife or “embarrass[ment]” to the United States.’” Id. at

13   10 (citing Cisco, 73 F.4th at 720).

14          This Court swiftly rejected Defendants’ related argument that the Court should dismiss

15   this case under Rule 12(b)(1) as presenting a nonjusticiable political question. Id. at 10–12.

16   The Court reasoned that “Jan is not challenging foreign policy decisions that are committed to

17   the political branches” and “[t]here are no foreign policy concerns that caution against

18   recognizing Jan’s claims under the ATS that a U.S. corporation and U.S. individuals aided and

19   abetted his imprisonment. Nor is there evidence that Congress would oppose recognizing this

20   kind of ATS action.” Id. at 11. Accordingly, the Court concluded “that Jan has satisfied Sosa’s

21   second step and—if his factual allegations meet the Ninth Circuit’s standard for accomplice

22   liability—he may pursue his aiding and abetting claims under the ATS.” Id. at 11–12.

23

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 1          As to the factual allegations for accomplice liability, this Court found that the

 2   Complaint’s allegations that Defendants employed Aljamal and paid him money after October

 3   7 and while Jan was captive “meet the actus reus requirements for ATS liability.” Id. at 14.

 4   Specifically, “the timing and extent of Aljamal’s employment support the conclusion that these

 5   payments provided assistance with substantial effect on Jan’s captivity.” Id. at 15.

 6          This Court, however, found the original Complaint did not allege the requisite mens

 7   rea. In particular, Jan did not allege that “Defendants had actual knowledge that Aljamal was

 8   a Hamas operative on or after October 7, when it was commonly known that Hamas was

 9   holding Israeli hostages in Gaza.” Id. at 16. Or in other words, Jan did not allege that “that

10   Defendants knew Aljamal was holding Israeli civilians hostage; that he had participated in any

11   acts of terrorism, related to October 7 or otherwise; or even, critically, that Aljamal was a

12   Hamas operative in the months following the October 7 attacks.” Id. at 15.

13          Similarly, the Court held that Jan did “not establish that the conduct relevant to the

14   ATS’s focus occurred in the United States” because the “relevant domestic conduct is

15   compensating Aljamal as a journalist of the Palestine Chronicle” and “Jan does not allege that

16   Defendants knew that Aljamal was a Hamas operative or involved in acts of terrorism.” Dkt.

17   40 at 23. In other words, Jan needed to allege actual knowledge to create “a sufficient nexus”

18   to the relevant domestic conduct. Id.

19          Nonetheless, the Court explained, because its “dismissal of the complaint turns on the

20   specific facts alleged, and Jan could conceivably plead additional facts to show Defendants’

21   conduct satisfies the actus reus and mens rea elements of accomplice liability, particularly with

22   respect to the compensation allegations.” Id. at 23. Accordingly, the Court granted Jan leave

23   to amend.

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 1             In summary, this Court has (1) already found the Complaint satisfies Sosa steps 1 and

 2   2;1 (2) noted that Defendants had not contested the underlying torts; (3) held that Jan failed to

 3   sufficiently plead mens rea because he had not alleged that Defendants had actual knowledge

 4   Aljamal was a Hamas operative engaged in international law violations on or after October 7;

 5   and (4) held that Jan had not defeated the presumption against extraterritoriality for the same

 6   reason.

 7                 2. The Amended Complaint Sufficiently Pleads Actual Knowledge.

 8             The Amended Complaint resolves the narrow actual knowledge deficiency that the

 9   Court identified. “The knowledge mens rea standard is satisfied when a defendant acts . . . with

10   awareness of a substantial likelihood that the defendant’s acts would assist the commission of

11   a crime.” Cisco Sys., 73 F.4th at 734. That said, “[i]t is not necessary that the aider or abettor

12   know the precise crime that was intended and was in fact committed” so long as the aider and

13   abettor “is aware that one of a number of crimes will probably be committed, and one of those

14   crimes is committed.” Id. (quotations omitted); see also Twitter, Inc. v. Taamneh, 598 U.S.

15   471, 495 (2023) (“Aiding and abetting does not require the defendant to have known ‘all

16   particulars of the primary actor’s plan.’”) (quoting Restatement (Third) of Torts: Intentional

17   Torts to Persons §10, Comment c, p. 104). Moreover, “when ongoing abuses are common

18   knowledge, knowing action may be imputed to the defendant.” Id. (quotations omitted).

19             To satisfy this standard and sufficiently plead “actual knowledge,” this Court suggested

20   that Plaintiffs would need to allege “that Defendants knew Aljamal was holding Israeli

21   civilians hostage; that he had participated in any acts of terrorism, related to October 7 or

22   1
      Because the Court had made legal holdings on Sosa Steps 1 & 2 that are not disturbed by the Amended Complaint
     or Motion to Dismiss, Plaintiffs do not clutter this memorandum by repeating their arguments, but they do
23   incorporate all arguments on Sosa made in their original Opposition to the first Motion to Dismiss, Dkt. 33.

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 1   otherwise” and that “Aljamal was a Hamas operative in the months following the October 7

 2   attacks.” Id. at 15–16. Plaintiffs could meet this burden, among other means, by alleging that

 3   “Defendants had actual knowledge that Aljamal was a Hamas operative on or after October 7,

 4   when it was commonly known that Hamas was holding Israeli hostages in Gaza.” Id. at 16.

 5          Plaintiffs have now sufficiently alleged each of those facts, and more. Specifically, the

 6   Amended Complaint now includes the following factual allegations:

 7              •   Defendants “compensate[ed] Hamas Operative Aljamal for his
                    propaganda, all the while knowing that Aljamal was a Hamas operative
 8                  involved in Hamas’s October 7, 2023 attacks and in the ongoing terrorist
                    war crime of holding Israeli citizens thereafter.” Am. Compl. ¶ 9.
 9              •   “Defendants knew that Hamas Operative Aljamal was an operative and
                    official spokesperson for Hamas.” Id. ¶ 38.
10              •   “Defendants knew that before, during, and after October 7, 2023, Hamas
                    was committing numerous international crimes, including, but not
11                  limited to, kidnapping, holding hostages for ransom, and mentally,
                    emotionally, and physically torturing them.” Id. ¶ 56.
12              •   Defendants knew “that Aljamal was a Hamas operative and
                    spokesperson before, during, and in the months after the October 7,
13                  2023 attacks.” Id. ¶ 62.
                •   Defendants knew “that Aljamal was a terrorist participating with Hamas
14                  in Hamas’s terrorist activities.” Id.
                •   “While compensating him as a ‘journalist,’ Defendants knew that
15                  Aljamal was holding Israeli citizens, victims of October 7, hostage.” Id.
                    ¶ 63.
16              •   “While compensating him as a ‘journalist,’ Defendants knew that
                    Aljamal, as a Hamas operative, participated in acts of terrorism as part
17                  of his duties as such.” Id. ¶ 64.
                •   “Defendants knew that Aljamal was a terrorist participating in
18
                    kidnapping and hostage-taking.” Id. ¶ 65.
19
            It is beyond plausible that Defendants knew all of this given their close employment
20
     relationship and personal connections with Aljamal and Aljamal’s open and notorious
21
     membership in Hamas. Aljamal served as an official spokesmen for Hamas’s Ministry of Labor
22
     and publicly appeared on Arab media as a spokesmen for Hamas. Id. ¶¶ 35-36. Aljamal never
23
     severed his Hamas connections; rather, Aljamal’s Facebook page, “which Defendant Baroud
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 1   regularly viewed” and interacted with, included photographs of Hamas headbands and a

 2   graphic for Hamas’s security bureau, and identified him as a Hamas operative. Id. ¶ 39, 41, 58.

 3   On October 7, 2023, Aljamal publicly praised Hamas’s terrorist attack on his Facebook page

 4   stating, “Praise be to God, thank you very much . . . Oh God, pay back.” Id. ¶ 50. Likewise, on

 5   October 7, “Aljamal posted on his public TikTok . . . ‘Praise be to God, abundant, good and

 6   blessed praise.. O God, guide us . . . O God grant us the victory that you promised.. O God,

 7   acceptance, acceptance, acceptance.. Your victory, O God.’” Id. ¶ 57.

 8          In addition to regularly viewing Aljamal’s public social media posts, “Defendants were

 9   in consistent, direct, and substantial contact with Aljamal” before and after October 7, 2023.

10   Id. ¶ 59. Indeed, after October 7, when Aljamal ceased publicly posting to social media, his

11   communications with Defendants migrated to other forms of electronic communications,

12   including via Skype and WhatsApp. Id. ¶¶ 41, 61, 67. Defendants’ communications with

13   Aljamal dramatically increased after October 7 as Aljamal began regularly providing text of

14   stories, digital images, and other material to Palestine Chronicle. Id. ¶¶ 42, 59. Aljamal even

15   specifically informed Defendants that he was “holding Israelis hostage and participating in

16   other activities of Hamas.” Id. ¶ 67.

17          Defendants routinely compensated Aljamal for work he performed in a war zone, where

18   Defendants knew that his work could only be completed “with direct and substantial contacts

19   with other Hamas terrorists providing him information to publish, power for his electronic

20   devices, and Internet access for transmission of materials and communications.” Id. ¶ 60.

21   Defendant Baroud and Aljamal are even from the same hometown in Gaza and collaborated

22   on articles as far back as 2019. Id. ¶ 37.

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 1            Finally, because the Amended Complaint now clearly and plausibly alleges that

 2   Defendants knew Aljamal was a Hamas operative after October 7, 2023, id. ¶ 62, when it was

 3   common knowledge that Hamas was engaged in acts of terrorism including kidnapping,

 4   holding, and concealing Israeli hostages, id. ¶ 64, knowledge that Aljamal was involved in

 5   such activities may be imputed to Defendants. See Dkt. 40, at 16; Doe I, 73 F.4th at 734–35

 6   (holding that, where the primary wrongdoer’s “ongoing abuses are common knowledge,

 7   knowing action may be imputed to the defendant” who provides aid, and inferring that, because

 8   “news media and government entities reported on the widespread abuses taking place in

 9   China,” Cisco provided technology to China “with awareness that the international law

10   violations of torture, arbitrary detention, disappearance, and extrajudicial killing were

11   substantially likely to take place”).2

12                  3. The Amended Complaint Pleads a “Sufficient Nexus” to Defeat the
                       Presumption Against Extraterritoriality.
13            “For an ATS claim to survive a motion to dismiss, the claim must ‘touch and concern’
14   activities that occur in the United States” with “sufficient force to displace the presumption
15   against extraterritorial application.” Dkt. 40 at 21–22 (quoting Kiobel v. Dutch Petroleum Co.,
16   569 U.S. 108, 124–25 (2013)). In particular, the plaintiff must plausibly allege that “‘the
17   conduct relevant to the statute’s focus occurred in the United States.’” Id. at 22 (quoting Nestle
18   USA, Inc. v. Doe (Nestle II), 593 U.S. 628, 632 (2021)). If plaintiff does so, “the case involves
19

20   2
       These allegations would also suffice to meet any “proximate causation” requirement as invented by Defendants
     in their Motion, though no such thing exists for the ATS. See Dkt. 45-1 at 21 (suggesting a new requirement that
21   Plaintiffs must show that “Defendants’ payments to a journalist had no direct or foreseeable connection to the
     harm suffered.”). Certainly, the citations there provided by Defendants say no such thing, either at the pages cited
22   or anywhere else. See Jesner v. Arab Bank, PLC, 138 S. Ct. 1386, 1392 (2018) (pincite to nonprecedential
     Supreme Court syllabus); Doe v. Cisco Systems, Inc., 73 F.4th 700, 713 (9th Cir. 2023) (pincite to procedural
     history of case). The actual requirements for an ATS claim, as described in detail in Cisco and by this Court in
23   its original Order, have been met.

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 1   a permissible domestic application even if other conduct occurred abroad.” Nestle II, 593 U.S.

 2   at 633 (quoting RJR Nabisco, Inc. v. European Cmty., 579 U.S. 325, 337 (2016)).

 3          The ‘conduct relevant to the ATS’s “focus” is “‘the conduct constituting the alleged

 4   offenses under the law of nations’” which, in an aiding and abetting case, is the “conduct that

 5   constitutes aiding and abetting another’s violation of the law of nations.’” Cisco Sys., 73 F.4th

 6   at 737) (quoting Mastafa v. Chevron Corp., 770 F.3d 170, 184–85 (2d Cir. 2014)).

 7   Accordingly, “conduct within the United States that constitutes aiding and abetting a violation

 8   of international law” is “within the ‘focus’ of the ATS” and, therefore, constitutes a permissible

 9   domestic application of the ATS, “‘even if other conduct occurred abroad’” Id. (quoting Nestle

10   II, 593 U.S. at 633; see also id. at 739 (plaintiffs have pled “sufficient [activity] to overcome

11   the presumption against extraterritoriality if that activity, considered separately, satisfied the

12   actus reus and mens rea of aiding and abetting liability).

13          In granting the previous motion to dismiss, the Court determined that the “relevant

14   domestic conduct is compensating Aljamal as a journalist of the Palestine Chronicle.” Dkt. 40,

15   at 23. However, the Court held that “because [plaintiff] does not allege that Defendants knew

16   that Aljamal was a Hamas operative or involved in acts of terrorism, their domestic decision

17   to pay him does not have a sufficient nexus to ‘the conduct relevant to the statute’s focus’” Id.

18   By amending the Complaint to sufficiently plead that Defendants’ had actual knowledge of

19   Aljamal’s ongoing terrorists activities at the time of “their domestic decision to pay him,”

20   Plaintiffs have alleged a sufficient domestic nexus for the mens rea of aiding and abetting,

21   which is the “the conduct relevant to the statue’s focus.” Id. In particular, Plaintiffs have

22   alleged that while making payments to Aljamal from the United States, Defendants knew he

23   was a Hamas operative, Dkt. 41 ¶ 9, knew he was engaged in acts of terrorism, id. ¶ 64, and

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 1   knew he was engaged in hostage taking and kidnapping. Id. ¶ 65. Defendants gained this

 2   knowledge by, among other means, engaging in “constant, direct, and substantial” electronic

 3   communication with Aljamal from the United States, during which conversations Aljamal

 4   informed Defendants of Aljamal’s participation in Hamas’s war crimes, including the holding

 5   of Israeli hostages. Am. Compl. ¶¶ 39-42, 50, 59, 67-68; see Doe I, 73 F.4th at 739 (holding

 6   that “Plaintiffs have plausibly alleged that Cisco’s domestic activities satisfied the mens rea

 7   for aiding and abetting liability” where the foreign principal’s illegal “objectives [were]

 8   communicated to Cisco,” which was based in San Jose, California”).

 9          Defendants respond by insisting that “all of the alleged conduct which is the focus of

10   the Plaintiff’s claims—alleged kidnapping, detention and mistreatment—took place abroad.”

11   Dkt. 45, at 18. But, as noted above, the Ninth Circuit has explicitly held that “the focus” of an

12   ATS claim for aiding and abetting is the “conduct … that constitutes aiding and abetting.” Doe

13   I, 73 F.4th at 737. Thus, a plaintiff overcomes the presumption against extraterritorial

14   application if he pleads “conduct within the United States that constitutes aiding and abetting

15   a violation of international law, … ‘even if other conduct [i.e., the principal’s acts] occurred

16   abroad.’” Id. (quoting Nestle II) (alteration made by Doe I).

17          Defendants next argue that making payments to terrorists, knowing that they are

18   terrorists and are using the money to fund their ongoing violations of international law, is not

19   a sufficient actus reus for aiding and abetting. Dkt. 45 at 18. That this Court has already held

20   the opposite. Dkt. 40 at 14-15 (Plaintiffs “meet the actus reus requirements for ATS liability”

21   because “the timing and extent of Aljamal’s employment support the conclusion that these

22   payments provided assistance with substantial effect on Jan’s captivity.”).

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 1          Finally, Defendants argue that Plaintiffs have not sufficiently alleged that the payments

 2   originated in the United States, speculating that the “alleged payments could have been made

 3   through a third country or even through cash payments in Gaza.” Dkt. 45 at 19. This hypothesis

 4   is entirely inconsistent with the Amended Complaint, which alleges that all of the Defendants,

 5   at all relevant times, resided in the Western District of Washington. Am. Compl. ¶ 20. In

 6   particular, People Media Project, the corporate defendant that is alleged to have made the

 7   payments to Aljamal, is incorporated in Washington and has its principal place of business at

 8   1503 5th Avenue SW, Olympia, Washington 98502-5247. Id. ¶¶ 14, 20. The Amended

 9   Complaint does not remotely suggest that these payments were executed by some corporate

10   subsidiary abroad; indeed, People Media Project has no foreign affiliates, as far as Plaintiffs

11   are aware, and the Amended Complaint certainly does not suggest that they do. Instead, the

12   Amended Complaint alleges that the payments to Aljamal were made through the “Palestine

13   Chronicle,” which is “an English language and U.S.-based news outlet” that “employed …

14   Aljamal as a ‘journalist,’ provided him with a U.S-based and taxpayer funded platform,” and

15   “compensated” him. Id. ¶ 15; see also id. ¶¶ 42-43, 69, 82, 100, 114. Moreover, the human

16   beings who are alleged to have communicated directly with Aljamal and caused the ongoing

17   payments to him are Defendant Ramzy Baroud, the Editor-in-Chief of the Palestine Chronicle

18   and a Governor of People Media Project, and Defendant John Harvey, a Governor of People

19   Media Project and a manager of the Palestine Chronicle. Am. Compl. Id. ¶¶ 37, 41-42, 59, 62,

20   67-68. The Amended Complaint alleges that, at all relevant times, these individuals worked in

21   Olympia, Washington and resided in the Western District of Washington. Id. ¶¶ 14, 20. At the

22   very least, these facts “allow[] the court to draw the reasonable inference” that the alleged

23   payments were sent from the United States. Iqbal, 556 U.S. at 678.

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 1          This case is therefore nothing like Kiobel and Nestle II, upon which Defendant’s rely.

 2   Dkt. 45, at 18-19. As the Ninth Circuit explained, those cases simply “held that ‘mere corporate

 3   presence,’ and ‘allegations of general corporate activity,’ including corporate decision-making,

 4   are insufficient to show domestic conduct warranting application of the ATS.” Doe I, 73 F.4th

 5   at 737 (quoting Kiobel, 569 U.S. at 125, and Nestle II, 593 U.S. at 634, respectively). “In both

 6   cases, the plaintiffs also alleged that the defendants took specific actions that aided and abetted

 7   violations of international law, but those alleged actions by defendants took place entirely (or

 8   nearly entirely) abroad.” Id. “In Kiobel, petitioners sued several foreign oil companies” for

 9   providing “Nigerian forces with food, transportation, and money.” Id. at 736. “[A]ll the

10   relevant conduct took place outside the United States,’” however, whereas “the only alleged

11   conduct within the United States was ‘mere corporate presence.’ Id. (quoting Kiobel, 569 U.S.

12   at 124–25).

13          Similarly, in Nestle II, “‘[n]early all the conduct’ alleged to constitute aiding and

14   abetting child slavery, including ‘providing training, fertilizer, tools, and cash to overseas

15   farms,’ ‘occurred in Ivory Coast.’” Id. at 737 (quoting Nestle II, 593 U.S. at 634). Accordingly,

16   “the Court reiterated that ‘allegations of general corporate activity—like decisionmaking—

17   cannot alone establish domestic application of the ATS.’” Id. (quoting Nestle II, 593 U.S. at

18   634 (emphasis added). Notably, it was undisputed that Nestle’s “resource distribution . . .

19   occurred outside the United States.” Nestle II, 593 U.S. at 631–32. Indeed, Nestle appeared to

20   have significant operations in the Ivory Coast—providing its farmers with not just cash but

21   “training, fertilizer, [and] tools” in exchange for “the exclusive right” to its coca products. Id.

22   In this context, “generic allegations” that a massive corporation’s U.S. headquarters made

23

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 1   “operational decisions” is insufficient because making “‘operational decisions’ is an activity

 2   common to most corporations in the U.S.” Id. at 634.

 3          Here, by contrast, the Defendants are not a foreign corporation like the Royal Dutch

 4   Petroleum Company at issue in Kiobel, or a massive multinational corporation with extensive

 5   foreign operations, like Nestle. They are a U.S.-based “501(c)(3) nonprofit” and “news outlet,”

 6   Am. Compl. ¶¶ 6, 14-15, 101, as well as the editor-in-chief and manager of that nonprofit, both

 7   of whom are alleged to have lived and worked in the United States while causing the unlawful

 8   payments to be made and to have extensive personal contact with the international law violator,

 9   id. ¶¶ 14, 20. This is a far cry from attempting to base jurisdiction on “generic allegations” that

10   a multinational corporation has a “mere corporate presence” in the U.S. or on “general

11   allegations” of “operational decisions . . . common to most corporations.”

12          Indeed, the aiding and abetting activity alleged here is far more plausibly domestic than

13   in Cisco, which involved “a multinational corporation based in San Jose, California, with

14   branch offices throughout the world, including in the Asia-Pacific region.” See Doe I, 73 F.4th

15   at 710. There, the plaintiff relied on “corporate decision-making and oversight in San Jose of

16   actions taken in China to build and integrate” a major domestic surveillance system in China.

17   Id. at 738. The plaintiffs there even named the vice president of Cisco China as a defendant.

18   Id. at 713. Nonetheless, the Ninth Circuit correctly held “this case involves a permissible

19   domestic application of the ATS against corporate defendant Cisco, because much of the

20   corporation’s alleged conduct constituting aiding and abetting occurred in the United States,”

21   including communications with the alleged primary wrongdoers and designing of the

22   surveillance system. Id. at 709, 738–39.

23

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 1      B. The Motion to Dismiss Raises or Repeats Arguments Already Explicitly
           Addressed and Rejected by this Court.
 2
                 1. As This Court Already Held, the Political Question Doctrine Does Not Apply.
 3
            Defendants again assert, without making any new arguments in support, that the
 4
     political question doctrine requires dismissal of the Amended Complaint under Rule 12(b)(1).
 5
     However, this Court has already found this argument “unpersuasive.” Dkt. 40 at 111. The
 6
     Court found this case justiciable because “[t]here are no foreign policy concerns that caution
 7
     against recognizing Jan’s claims under the ATS that a U.S. corporation and U.S. individuals
 8
     aided and abetted his imprisonment. Nor is there evidence that Congress would oppose
 9
     recognizing this kind of ATS action.” Id. The Ninth Circuit has also held that “recognizing
10
     aiding and abetting liability does not trigger Sosa’s principal foreign policy concern.” Cisco,
11
     73 F.4th at 720.
12
            Neither Defendants’ Motion nor the Amended Complaint provide any reason to depart
13
     from the Court’s previous conclusion that the political question doctrine does not bar
14
     consideration of this case. Defendants state that “the US is now talking directly to Hamas in
15
     an effort to resolve such issues.” Dkt. 45-1 at 9. But the Court has already found that “[w]hile
16
     Defendants point to the United States’ role in brokering negotiations between Israel and Hamas
17
     on a cease-fire agreement, they do not identify an ATS-specific caution that is pertinent to this
18
     case.” Dkt. 40 at 11 (citation omitted). Moreover, if there were really a concern that this lawsuit
19
     would somehow derail the administration’s cease-fire negotiations, one would expect the State
20
     Department to object, as it frequently does in cases that present a real risk of interfering with
21
     U.S. diplomacy or foreign relations. See Cisco Sys., 73 F.4th at 721 (“Unlike cases in which
22
     both U.S. and foreign government actors raise objections to the litigation, no foreign
23
     government or Executive Branch agency has submitted an amicus brief, declaration, or letter
24
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 1   objecting to this lawsuit.”) (collecting cases); Kiobel, 569 U.S. at 124 (noting that foreign

 2   governments frequently object to ATS cases that they believe infringe on their sovereignty).

 3               2. As This Court Already Held, Exhaustion Is Not Required Here.

 4          Defendants again rehash the same argument as their original motion to dismiss that

 5   Plaintiffs’ claims are barred because they did not exhaust all of their potentially available

 6   remedies in Israel. However, the Court has already flatly rejected this argument, noting that

 7   the Supreme Court did not adopt an exhaustion requirement in Sosa. Id. at 10 n.1. The Ninth

 8   Circuit has also “decline[d] to impose an absolute requirement of exhaustion in ATS cases.”

 9   Sarei v. Rio Tinto, PLC, 550 F.3d 822, 824 (9th Cir. 2008). Rather, exhaustion is merely a

10   “discretionary” doctrine under the ATS, which should be “carefully consider[ed],” especially

11   for “claims that do not involve matters of ‘universal concern.’” Id. “Matters of ‘universal

12   concern’ are offenses for which a state has jurisdiction to punish without regard to territoriality

13   or the nationality of the offenders.” Id.

14          The conduct at issue here is precisely the type that is punishable in a state without

15   regard to territoriality or nationality. Plaintiffs seek redress for payments made to a known

16   terrorist in the Western District of Washington, not Israel. And this Court has already found

17   such aiding and abetting claims to be “universal” in nature. Dkt. 40 at 7–8 (quoting Cisco Sys.,

18   Inc., 73 F.4th at 718). The Court even noted that punishing the conduct at issue “in cases such

19   as this may better serve the original purpose of the ATS” by providing a forum in the United

20   States. Id. at 10. That statement alone is a rejection of a need for Plaintiffs to bring suit in

21   Israel. The Court has already exercised its discretion to not require exhaustion, and neither

22   Defendants’ Motion nor the Amended Complaint provide any reason to depart from that

23   decision.

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 1               3. As This Court Already Held, Payments to a Terrorist Journalist Can Constitute
                    Material Support of Terrorism.
 2
            For the first time, Defendants make the baffling argument that compensating (i.e.,
 3
     providing actual money to) a known terrorist cannot constitute material support for terrorism.
 4
     Dkt. 45-1 at 18. However, this Court had already held that Defendant’s payments to Aljamal
 5
     constitute sufficient actus reus for aiding and abetting liability, explaining that “the timing and
 6
     extent of Aljamal’s employment support the conclusion that these payments provided
 7
     assistance with substantial effect on Jan’s captivity.” Dkt. 40 at 15. And to the extent this
 8
     argument attempts to attack Plaintiffs’ underlying claim that such payments constitute an
 9
     independent violation of the law of nations (a generous interpretation, given Defendants’ (still
10
     incorrect) statement that payments to a terrorist “do not constitute material support under U.S.
11
     law.” Dkt. 45-1 at 4 (emphasis added).
12
            Nevertheless, Defendants’ only support for this baffling notion is a Seventh Circuit
13
     case, Boim v. Holy Land Foundation for Relief and Development, 549 F.3d 685 (7th Cir. 2008).
14
     But Boim in no way supports Defendants’ argument. First, Boim was a material support case
15
     brought under the Antiterrorism Act, not the ATS. Id. at 688. Second, Boim’s holding with
16
     respect to providing financial assistance to terrorists was simply that “[t]o give money to an
17
     organization that commits terrorist acts is not intentional misconduct unless one . . . knows that
18
     the organization engages in such acts,” id. at 693, which the Amended Complaint alleges in
19
     detail. And third, Boim’s core holding, that the ATA did not establish a cause of action based
20
     on secondary liability, was expressly abrogated by Congress. See 18 U.S.C. § 2333(d)(2); King
21
     v. Habib Bank Ltd., 2022 U.S. Dist. LEXIS 176536, at *24 (S.D.N.Y. Sep. 28, 2022)
22
     (discussing history of Boim and Justice Against Sponsors of Terrorism Act).
23

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 1      C. Defendants’ Remaining Arguments Are Without Merit.

 2                1. The Amended Complaint Resolves the First Amendment Concerns the Court
                     Previously Identified.
 3
            Defendants once again attempt to cast Plaintiffs’ Complaint as an attempt “to curb free
 4
     speech and freedom of the press.” Dkt. 45-1 at 3. Plaintiffs recognize that the Court already
 5
     held that “Defendants’ decisions to publish Aljamal’s articles are protected by the First
 6
     Amendment.” Dkt. 40 at 23. Viewing that as a legal pronouncement barring any further claims
 7
     based on this “publication theory,” Plaintiffs chose to remove the publication theory of
 8
     accomplice liability from the Amended Complaint entirely. Accordingly, the Amended
 9
     Complaint now relies solely upon the “compensation theory” of liability, which this Court
10
     noted to be “particularly” capable of cure through amendment. Id.
11
            This Court never held nor implied that Defendants’ compensation of Aljamal could be
12
     shielded by the First Amendment. And Defendants never quite make that argument themselves,
13
     instead seemingly relying on a genre of policy argument, i.e., that finding liability for
14
     compensating a terrorist employed as a “journalist” would violate First Amendment principles.
15
     See Dkt. 45-1 at 8 (“[T]he ‘practical consequences’ for free speech rights protected by the First
16
     Amended [sic] which this case entails militates strongly against this Court’s exercise of
17
     jurisdiction in this case.”). But Defendants cannot (and so they do not) provide any case law
18
     for such a preposterous position. If someone knowingly compensates a terrorist while he is
19
     committing acts of terrorism, that individual can be held liable for such aid under the ATS,
20
     even if the terrorist then also publishes First Amendment-protected content as part of his
21
     (other) day job. The Court should therefore reject Defendants’ rehashed First Amendment
22
     arguments.
23

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 1               2. The Amended Complaint Makes No Civil Conspiracy Claim.

 2          Throughout their Motion, Defendants reference a supposed “civil conspiracy” claim by

 3   Plaintiffs. It is not clear whether this is the result of a stray copy-and-paste or is simply a way

 4   that Defendants are describing the aiding and abetting liability claims at issue here. Suffice it

 5   to say, civil conspiracy and aiding and abetting liability are not the same. See Twitter, 598 U.S.

 6   at 489–90 (“[Unlike its close cousin conspiracy, aiding and abetting does not require any

 7   agreement with the primary wrongdoer”). To the extent Defendants attempt to subject

 8   Plaintiffs’ claims to a heightened pleading standard by casting them as civil conspiracy claims,

 9   the Court should reject such an attempt as plainly wrong. To the extent Defendants are simply

10   conflating aiding and abetting liability with civil conspiracy liability, then, as discussed above,

11   their concerns have been addressed by the fact that Plaintiffs have now sufficiently alleged

12   aiding and abetting liability under the ATS as this Court directed.

13               3. The Amended Complaint Need Not Allege State Action.

14          Again, for the first time, Defendants suggest that Plaintiffs’ allegations fail because

15   they do not allege that the underlying violations of international law were carried out by “state

16   actors.” Dkt. 45-1 at 12–15. Defendants are wrong. While Defendants’ theory is not totally

17   clear, it appears Defendants urge this Court to adopt a rule that, for hostage-holding and

18   kidnapping claims under the ATS, Plaintiffs must allege the perpetrator was a state actor. See

19   Dkt. 45-1 at 12–15. Not so. As the Ninth Circuit has recognized, courts have long held that

20   “not all violations of international law require state action.” Cisco Sys., 73 F.4th at 740 (citing

21   cases).. Rather, “under the law of war as codified in the Geneva Conventions, all ‘parties’ to a

22   conflict — which includes insurgent military groups — are obliged to adhere to . . .

23   fundamental requirements of the law of war.” Kadic v. Karadzic, 70 F.3d 232, 242–43 (2d Cir.

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 1   1995) (quoting Geneva Convention I art. 3(1)) (cited favorably in Cisco Sys., 73 F.4th at 740).

 2   In particular, Common Article 3 to the Geneva Convention “binds parties to internal conflicts

 3   regardless of whether they are recognized nations or roving hordes of insurgents,” to

 4   “humanely” treat “[p]ersons taking no active part in the hostilities.” Id. (quoting Geneva

 5   Convention I art. 3(1)). Specifically, it prohibits state and nonstate combatants “at any time

 6   and in any place whatsoever with respect to [such] persons” from engaging in “cruel treatment

 7   and torture,” “taking of hostages,” or “outrages upon personal dignity, in particular humiliating

 8   and degrading treatment.” Id. (quoting Geneva Convention I art. 3(1)). Nor is state action

 9   required for aiding and abetting liability under the ATS. See Cisco Sys., 73 F.4th at 720 (9th

10   Cir. 2023) (“[A]iding and abetting liability is most likely to be alleged, as here, in suits against

11   U.S. citizens and corporations, not foreign governments.”).

12                4. The Amended Complaint Sufficiently States Claims Against the Individual
                     Defendants.
13
             Defendants once again argue that Plaintiffs’ claims against the individual Defendants
14
     cannot proceed under various theories of corporate vicarious liability. Dkt. 45-1 at 19–20. The
15
     argument is so specious that the Court rightfully did not even deign to address it in its prior
16
     Opinion, and Plaintiffs will not belabor the point here. Suffice it to say, it is black letter Ninth
17
     Circuit law that “[a] corporate officer or director is, in general, personally liable for all torts
18
     which he authorizes or directs or in which he participates, notwithstanding that he acted as an
19
     agent of the corporation and not on his own behalf.” Facebook, Inc. v. Power Ventures, Inc.,
20
     844 F.3d 1058, 1069 (9th Cir. 2016) (internal quotation and citation omitted). Defendant
21
     Baroud is a Governor of People Media Project, the Editor-in-Chief of the Palestine Chronicle
22
     and responsible for editorial, content, and management decisions of the Palestine Chronicle.
23

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 1   Dkt. 41 ¶ 16. Defendant Harvey is a Governor, principal officer, and manager of People Media

 2   Project and Palestine Chronicle and is ultimately responsible for management and financial

 3   decisions. Id. ¶ 17. Together, the Amended Complaint alleges that the individual Defendants

 4   personally authorized and directed the Palestine Chronicle’s compensation of Hamas

 5   Operative Aljamal, with whom they were in constant direct contact. See id. ¶¶ 16–17, 39-43,

 6   67-68.

 7            Plaintiffs do not assert a vicarious liability claim against a corporation and its officers

 8   based on the acts of a corporate employee. Rather, Plaintiffs assert claims against a corporation

 9   and its corporate officers for personally and knowingly aiding and abetting the acts of a known

10   terrorist principal. The individual Defendants are liable both individually and as corporate

11   officers for the acts of aiding and abetting they authorized and directed. See Facebook, 844

12   F.3d at 1069. This Court should once again decline Defendants’ invitation to conclude

13   otherwise.

14                                         IV.     CONCLUSION

15            Accordingly, Plaintiffs respectfully request this Court to deny the Motion.

16            I certify that this Response contains 6,355 words, in compliance with the Civil Rules.

17            DATED this 3rd of April 2025.

18                                                       Respectfully submitted,
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